                                                             Case:15-03757-jwb       DocFORM
                                                                                          #:581 Filed: 07/02/19 Page                  1 of 8                       Page No:     1
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES

Case No.:                         15-03757                                                                                            Trustee Name:                             Kelly M. Hagan
Case Name:                        MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                                  Date Filed (f) or Converted (c):          06/30/2015 (f)
For the Period Ending:            06/30/2019                                                                                          §341(a) Meeting Date:                     08/04/2015
                                                                                                                                      Claims Bar Date:                          11/13/2015
                                      1                                      2                      3                           4                        5                                          6

                         Asset Description                                Petition/        Estimated Net Value               Property              Sales/Funds                 Asset Fully Administered (FA)/
                          (Scheduled and                                Unscheduled       (Value Determined by               Abandoned             Received by                Gross Value of Remaining Assets
                     Unscheduled (u) Property)                             Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                         Less Liens, Exemptions,
                                                                                            and Other Costs)

Ref. #
1        8062 Meade, Montague, MI 49437                                     $70,000.00                         $0.00                                            $0.00                                           FA
2        13887 Gear Rd., Bear Lake, MI 49614                               $160,000.00                         $0.00                                            $0.00                                           FA
3        Honor Bank checking, joint, remainder of                             $448.00                      $1,916.33                                          $958.16                                           FA
         non exempt equity, p/o 3/21/16, DN52
4        Household goods                                                     $1,880.00                         $0.00                                            $0.00                                           FA
5        Clothing                                                             $250.00                          $0.00                                            $0.00                                           FA
6        Jewelry                                                              $200.00                          $0.00                                            $0.00                                           FA
7        Retirement, wife                                                   $20,429.46                         $0.00                                            $0.00                                           FA
8        Pension, Benzie County School, wife                                     $0.00                         $0.00                                            $0.00                                           FA
9        Magnan Enterprises LLC, Fifth Third Bank                                $0.00                         $0.00                                            $0.00                                           FA
         checking in the name of Magnan
         Enterprises LLC
10       2015 Estimated Tax Refunds                                          $8,500.00                     $1,982.00                                            $0.00                                           FA
11       2005 Chevrolet Suburban                                             $5,926.00                         $0.00                                            $0.00                                           FA
12       2005 Ford Freestyle                                                 $2,668.00                         $0.00                                            $0.00                                           FA
13       1999 Ford Explorer; my son's vehicle; he                            $1,102.00                     $1,102.00                                            $0.00                                           FA
         purchased from an employer other than
         debtors; titled in wife's name, legal title only.
14       Camper                                                              $1,000.00                         $0.00                                            $0.00                                           FA
15     Tractor 1984 Zetor 5211 (along with loader,                           $6,000.00                     $4,293.95                                         $4,293.95                                          FA
       rototiller, and hay wagon), Settlement p/o
       3/21/16, DN52
Asset Notes:       Lien of $9,150.00 is avoidable in part.


TOTALS (Excluding unknown value)                                                                                                                                                    Gross Value of Remaining Assets
                                                                          $278,403.46                      $9,294.28                                         $5,252.11                                      $0.00



Major Activities affecting case closing:
 07/01/2019        Final payment received; review for closing. KMH
                                                           Case:15-03757-jwb        DocFORM
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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES

Case No.:                    15-03757                                                                                                                Trustee Name:                           Kelly M. Hagan
Case Name:                   MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                                                      Date Filed (f) or Converted (c):        06/30/2015 (f)
For the Period Ending:        06/30/2019                                                                                                             §341(a) Meeting Date:                   08/04/2015
                                                                                                                                                     Claims Bar Date:                        11/13/2015
                                 1                                               2                              3                              4                        5                                        6

                     Asset Description                                      Petition/                 Estimated Net Value                 Property                Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                                      Unscheduled                (Value Determined by                 Abandoned               Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                   Value                          Trustee,                OA =§ 554(a) abandon.          the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

 05/20/2019    Large payment made; will continue to collect remaining amount. KMH
 03/01/2019    Debtor has been informed of his obligation to pay the debt timely. KMH
 12/09/2018    Debtor has increased his payment amounts. KMH
 08/20/2018    Small payments continue. KMH
 05/04/2018    Debtor continues to make small payments. KMH
 02/07/2018    Payments scheduled to continue for several years. KMH
 12/08/2017    Payments continue. DAH
 07/07/2017    Debtor making regular monthly payments. KMH
 05/18/2017    Payments continue. KMH
 01/23/2017    Debtor making payments. KMH
 10/16/2016    Debtor has begun to make payments. KMH
 06/08/2016    Attempting to resolve issue with debtor, who is unable to make settlement payments and does not have all the equipment referenced in settlement. KMH
 01/22/2016    Motion to compel filed. KMH
 12/29/2015    No monies received; attorney to investigate collection of amounts owed. KMH
 10/14/2015    Motion for approval of settlement with Honor Bank filed. KMH
 08/12/2015    Refer to attorney to avoid lien on tractor. KMH


Initial Projected Date Of Final Report (TFR):        08/31/2017                           Current Projected Date Of Final Report (TFR):            10/31/2019               /s/ KELLY M. HAGAN
                                                                                                                                                                            KELLY M. HAGAN
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                                                                                          FORM 2                                                              Page No: 1
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-03757                                                                                   Trustee Name:                          Kelly M. Hagan
Case Name:                     MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                         Bank Name:                             Bank of Texas
Primary Taxpayer ID #:         **-***1981                                                                                 Checking Acct #:                       ******3763
Co-Debtor Taxpayer ID #:       **-***1982                                                                                 Account Title:
For Period Beginning:          07/01/2018                                                                                 Blanket bond (per case limit):         $2,000,000.00
For Period Ending:             06/30/2019                                                                                 Separate bond (if applicable):


     1                2                         3                                                       4                                       5                      6               7

Transaction      Check /                    Paid to/                            Description of Transaction                 Uniform           Deposit             Disbursement        Balance
   Date           Ref. #                 Received From                                                                    Tran Code            $                      $


10/10/2016           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $100.00
12/07/2016           (3)    Wesley Magnan                               Regular settlement payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $200.00
12/07/2016           1001   Insurance Partners Agency, Inc.             blanket bond 11/1/16-11/1/17                       2300-000                 $0.00                    $0.04         $199.96
12/23/2016           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $299.96
01/16/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $399.96
02/16/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $499.96
04/10/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $599.96
05/18/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000            $100.00                       $0.00         $699.96
07/10/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000              $40.00                      $0.00         $739.96
08/22/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52      1129-000              $20.00                      $0.00         $759.96
08/25/2017                  Pinnacle Bank                               Transfer Funds                                     9999-000                 $0.00                  $759.96             $0.00




                                                                                                                          SUBTOTALS                 $760.00                $760.00
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                                                                                    FORM 2                                                                           Page No: 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-03757                                                                                        Trustee Name:                           Kelly M. Hagan
Case Name:                      MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                              Bank Name:                              Bank of Texas
Primary Taxpayer ID #:          **-***1981                                                                                      Checking Acct #:                        ******3763
Co-Debtor Taxpayer ID #:        **-***1982                                                                                      Account Title:
For Period Beginning:           07/01/2018                                                                                      Blanket bond (per case limit):          $2,000,000.00
For Period Ending:              06/30/2019                                                                                      Separate bond (if applicable):


    1                2                           3                                                  4                                                  5                      6                7

Transaction      Check /                     Paid to/                       Description of Transaction                            Uniform          Deposit              Disbursement         Balance
   Date           Ref. #                  Received From                                                                          Tran Code           $                       $



                                                                                     TOTALS:                                                               $760.00                 $760.00             $0.00
                                                                                         Less: Bank transfers/CDs                                            $0.00                 $759.96
                                                                                     Subtotal                                                              $760.00                   $0.04
                                                                                         Less: Payments to debtors                                           $0.00                   $0.00
                                                                                     Net                                                                   $760.00                   $0.04




                     For the period of 07/01/2018 to 06/30/2019                                                For the entire history of the account between 10/06/2016 to 6/30/2019

                     Total Compensable Receipts:                           $0.00                               Total Compensable Receipts:                                        $760.00
                     Total Non-Compensable Receipt                         $0.00                               Total Non-Compensable Receipt                                        $0.00
                     Total Comp/Non Comp Receipts                          $0.00                               Total Comp/Non Comp Receipts                                       $760.00
                     Total Internal/Transfer Receipts                      $0.00                               Total Internal/Transfer Receipts                                     $0.00


                     Total Compensable Disbursements:                      $0.00                               Total Compensable Disbursements:                                     $0.04
                     Total Non-Compensable Disbursement                    $0.00                               Total Non-Compensable Disbursement                                   $0.00
                     Total Comp/Non Comp Disbursements                     $0.00                               Total Comp/Non Comp Disbursements                                    $0.04
                     Total Internal/Transfer Disbursements                 $0.00                               Total Internal/Transfer Disbursements                              $759.96
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                                                                                          FORM 2                                                                         Page No: 3
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-03757                                                                                                Trustee Name:                        Kelly M. Hagan
Case Name:                     MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                                      Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***1981                                                                                              Checking Acct #:                     ******0027
Co-Debtor Taxpayer ID #:       **-***1982                                                                                              Account Title:                       Checking
For Period Beginning:          07/01/2018                                                                                              Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             06/30/2019                                                                                              Separate bond (if applicable):


     1                2                         3                                                         4                                                  5                    6              7

Transaction      Check /                    Paid to/                            Description of Transaction                              Uniform           Deposit           Disbursement       Balance
   Date           Ref. #                 Received From                                                                                 Tran Code            $                    $


08/25/2017                  Bank of Texas                               Transfer Funds                                                  9999-000            $759.96                   $0.00           $759.96
09/05/2017                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $0.28           $759.68
10/03/2017                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.19           $758.49
10/05/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52                   1129-000              $50.00                  $0.00           $808.49
11/02/2017                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.28           $807.21
11/06/2017           (3)    Wesley Magnan                               Regular Settlement Payment, p/o 3/21/16, DN52                   1129-000              $50.00                  $0.00           $857.21
12/04/2017                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.32           $855.89
12/05/2017           (3)    Wesley Magnan                               Regular settlement payment, p/o 3/21/16, DN52                   1129-000              $50.00                  $0.00           $905.89
12/08/2017           (3)    Wesley Magnan                               Regular settlement payment, p/o 3/21/16, DN52                   1129-000             ($50.00)                 $0.00           $855.89
01/08/2018           (3)    Wesley Magnan                               Reversing the 12/8/17 deposit reversal, which was               1129-000              $50.00                  $0.00           $905.89
                                                                        made in error; deposit did clear the bank;
                                                                        settlement p/o 3/21/16, DN52
01/08/2018                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.45           $904.44
01/08/2018           5001   Insurance Partners Agency, Inc.             Bond Payment                                                    2300-000                 $0.00                $0.33           $904.11
01/22/2018                  Wesley Magnan                               Regular settlement payment, p/o 3/21/16, DN52                       *                 $50.00                  $0.00           $954.11
                     {15}                                               settlement payment p/o 3/21/16                       $1.84      1129-000                                                      $954.11
                                                                        DN52
                     {3}                                                Regular settlement payment, p/o                     $48.16      1129-000                                                      $954.11
                                                                        3/21/16, DN52
02/06/2018                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.48           $952.63
02/27/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52                   1129-000              $50.00                  $0.00          $1,002.63
03/05/2018                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.39          $1,001.24
03/19/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52                   1129-000              $50.00                  $0.00          $1,051.24
03/30/2018                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.64          $1,049.60
04/16/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52                   1129-000              $50.00                  $0.00          $1,099.60
04/30/2018                  Pinnacle Bank                               Pinnacle Analysis                                               2600-000                 $0.00                $1.68          $1,097.92

                                                                                                                                       SUBTOTALS            $1,109.96                 $13.72
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-03757                                                                                   Trustee Name:                        Kelly M. Hagan
Case Name:                     MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                         Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***1981                                                                                 Checking Acct #:                     ******0027
Co-Debtor Taxpayer ID #:       **-***1982                                                                                 Account Title:                       Checking
For Period Beginning:          07/01/2018                                                                                 Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             06/30/2019                                                                                 Separate bond (if applicable):


     1                2                         3                                                       4                                       5                    6             7

Transaction      Check /                    Paid to/                            Description of Transaction                 Uniform           Deposit           Disbursement      Balance
   Date           Ref. #                 Received From                                                                    Tran Code            $                    $


05/31/2018                  Pinnacle Bank                               Pinnacle Analysis                                  2600-000                 $0.00                $1.77         $1,096.15
06/01/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000              $50.00                  $0.00         $1,146.15
06/18/2018           (15)   Sandra Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000              $50.00                  $0.00         $1,196.15
06/29/2018                  Pinnacle Bank                               Pinnacle Analysis                                  2600-000                 $0.00                $1.81         $1,194.34
07/26/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000              $75.00                  $0.00         $1,269.34
07/31/2018                  Pinnacle Bank                               Pinnacle Analysis                                  2600-000                 $0.00                $1.94         $1,267.40
08/31/2018                  Pinnacle Bank                               Pinnacle Analysis                                  2600-000                 $0.00                $2.05         $1,265.35
09/13/2018           (15)   Wesley Magan                                regular settlement payment, p/o 3/21/16, DN52      1129-000              $75.00                  $0.00         $1,340.35
10/29/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000            $100.00                   $0.00         $1,440.35
11/26/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000            $100.00                   $0.00         $1,540.35
12/20/2018           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000              $50.00                  $0.00         $1,590.35
12/27/2018           5002   Insurance Partners Agency, Inc.             blanket bond renewal 11/1/18-11/1/19               2300-000                 $0.00                $0.58         $1,589.77
01/22/2019           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000            $100.00                   $0.00         $1,689.77
02/26/2019           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000            $142.11                   $0.00         $1,831.88
03/25/2019           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000            $200.00                   $0.00         $2,031.88
05/09/2019           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000           $2,400.00                  $0.00         $4,431.88
06/24/2019           (15)   Wesley Magnan                               regular settlement payment, p/o 3/21/16, DN52      1129-000            $800.00                   $0.00         $5,231.88




                                                                                                                          SUBTOTALS            $4,142.11                 $8.15
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-03757                                                                                          Trustee Name:                         Kelly M. Hagan
Case Name:                      MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                                Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:          **-***1981                                                                                        Checking Acct #:                      ******0027
Co-Debtor Taxpayer ID #:        **-***1982                                                                                        Account Title:                        Checking
For Period Beginning:           07/01/2018                                                                                        Blanket bond (per case limit):        $2,000,000.00
For Period Ending:              06/30/2019                                                                                        Separate bond (if applicable):


    1                2                           3                                                    4                                                  5                    6               7

Transaction      Check /                     Paid to/                         Description of Transaction                            Uniform          Deposit            Disbursement        Balance
   Date           Ref. #                  Received From                                                                            Tran Code           $                     $



                                                                                       TOTALS:                                                           $5,252.07                 $20.19         $5,231.88
                                                                                           Less: Bank transfers/CDs                                        $759.96                  $0.00
                                                                                       Subtotal                                                          $4,492.11                 $20.19
                                                                                           Less: Payments to debtors                                         $0.00                  $0.00
                                                                                       Net                                                               $4,492.11                 $20.19




                     For the period of 07/01/2018 to 06/30/2019                                                  For the entire history of the account between 08/25/2017 to 6/30/2019

                     Total Compensable Receipts:                         $4,042.11                               Total Compensable Receipts:                                  $4,492.11
                     Total Non-Compensable Receipt                           $0.00                               Total Non-Compensable Receipt                                    $0.00
                     Total Comp/Non Comp Receipts                        $4,042.11                               Total Comp/Non Comp Receipts                                 $4,492.11
                     Total Internal/Transfer Receipts                        $0.00                               Total Internal/Transfer Receipts                               $759.96


                     Total Compensable Disbursements:                       $4.57                                Total Compensable Disbursements:                                 $20.19
                     Total Non-Compensable Disbursement                     $0.00                                Total Non-Compensable Disbursement                                $0.00
                     Total Comp/Non Comp Disbursements                      $4.57                                Total Comp/Non Comp Disbursements                                $20.19
                     Total Internal/Transfer Disbursements                  $0.00                                Total Internal/Transfer Disbursements                             $0.00
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         15-03757                                                                                      Trustee Name:                         Kelly M. Hagan
Case Name:                       MAGNAN, WESLEY HOWARD AND MAGNAN, SANDRA CHRISTINE                                            Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:           **-***1981                                                                                    Checking Acct #:                      ******0027
Co-Debtor Taxpayer ID #:         **-***1982                                                                                    Account Title:                        Checking
For Period Beginning:            07/01/2018                                                                                    Blanket bond (per case limit):        $2,000,000.00
For Period Ending:               06/30/2019                                                                                    Separate bond (if applicable):


    1                2                           3                                                     4                                             5                     6              7

Transaction      Check /                     Paid to/                          Description of Transaction                        Uniform           Deposit           Disbursement       Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                    $


                                                                                                                                                                               NET         ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE        BALANCES

                                                                                                                                                    $5,252.11                  $20.23         $5,231.88




                     For the period of 07/01/2018 to 06/30/2019                                                For the entire history of the account between 08/25/2017 to 6/30/2019

                     Total Compensable Receipts:                         $4,042.11                          Total Compensable Receipts:                                   $5,252.11
                     Total Non-Compensable Receipt                           $0.00                          Total Non-Compensable Receipt                                     $0.00
                     Total Comp/Non Comp Receipts                        $4,042.11                          Total Comp/Non Comp Receipts                                  $5,252.11
                     Total Internal/Transfer Receipts                        $0.00                          Total Internal/Transfer Receipts                                $759.96


                     Total Compensable Disbursements:                       $4.57                           Total Compensable Disbursements:                                   $20.23
                     Total Non-Compensable Disbursement                     $0.00                           Total Non-Compensable Disbursement                                  $0.00
                     Total Comp/Non Comp Disbursements                      $4.57                           Total Comp/Non Comp Disbursements                                  $20.23
                     Total Internal/Transfer Disbursements                  $0.00                           Total Internal/Transfer Disbursements                             $759.96




                                                                                                                                                /s/ KELLY M. HAGAN
                                                                                                                                                KELLY M. HAGAN
